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                             United States District Court
                                  District of South Dakota
                                        Office of the Clerk

 Central/Northern Division                 Southern Division                   Western Division
 P.O. Box 7147                             400 South Phillips,                 515 Ninth Street,
 Pierre, SD 57501                          Room 128                            Room 302
                                           Sioux Falls, SD 57104               Rapid City, SD 57701

Matthew W. Thelen                                                                         Telephone
Clerk of Court                                                                        (605) 330-6600



                                            June 5, 2023


Scott Lewandoski
Eighth Circuit Court of Appeals
111 South 10th Street, Suite 24.329
St. Louis MO 63102


        Re:     Your File No.: 23-2203
                Our File No.: 20-CR-50095
                USA v. Hopkins

Dear Scott:

Enclosed please find the following documents for the above case on appeal:

   •    3 envelopes containing sentencing documents.

If you have any questions, please feel free to contact our office.

                                                               Office of the Clerk
Enclosures
